Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 1 of 27 PageID #:18




                               Exhibit 1
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 2 of 27 PageID #:19
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 3 of 27 PageID #:20
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 4 of 27 PageID #:21
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 5 of 27 PageID #:22
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 6 of 27 PageID #:23
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 7 of 27 PageID #:24
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 8 of 27 PageID #:25
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 9 of 27 PageID #:26
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 10 of 27 PageID #:27
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 11 of 27 PageID #:28
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 12 of 27 PageID #:29
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 13 of 27 PageID #:30
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 14 of 27 PageID #:31
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 15 of 27 PageID #:32
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 16 of 27 PageID #:33
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 17 of 27 PageID #:34
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 18 of 27 PageID #:35
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 19 of 27 PageID #:36
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 20 of 27 PageID #:37
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 21 of 27 PageID #:38
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 22 of 27 PageID #:39
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 23 of 27 PageID #:40
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 24 of 27 PageID #:41
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 25 of 27 PageID #:42
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 26 of 27 PageID #:43
Case: 1:25-cv-02543 Document #: 1-1 Filed: 03/11/25 Page 27 of 27 PageID #:44
